     Case 3:18-cv-02077-MCR-MJF Document 24 Filed 06/10/20 Page 1 of 2

                                                                            Page 1 of 2

                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


DEMETRIUS DWAYNE BROOKINS,

              Plaintiff,

v.                                             CASE NO. 3:18cv2077-MCR-MJF

MARK S. INCH, et al.,

              Defendants.
                                           /

                                  O R D E R

      This cause comes on for consideration upon the magistrate judge’s Report and

Recommendation dated May 11, 2020. ECF No. 23. The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). I have made a de novo determination of all timely filed objections.

      Having considered the Report and Recommendation, and any objections

thereto timely filed, I have determined that the Report and Recommendation should

be adopted.

      Accordingly, it is now ORDERED as follows:

      1.      The magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this Order.
     Case 3:18-cv-02077-MCR-MJF Document 24 Filed 06/10/20 Page 2 of 2

                                                                         Page 2 of 2

      2.    This action is DISMISSED without prejudice for Plaintiff’s failure to

comply with two court orders.

      3.    The clerk of the court is directed to close the case file.

      DONE AND ORDERED this 10th day of June 2020.




                                        s/  M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE




Case No. 3:18cv2077-MCR-MJF
